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                                       UNITED STATES BANKRUPTCY COURT
                                            Eastern District of New York
                                       NOTE: All documents filed in this matter must be identified by both
                                    adversary and bankruptcy case numbers, case chapter and judge's initials.

In re: Orion Healthcorp, Inc.                                                                                       Bankruptcy Case No.:
                                                                                                                        8−18−71748−ast

Howard M. Ehrenberg in his capacity as Liquidating Trustee of Orion
Healthcorp, Inc., et al
                                                   Plaintiff(s),
                                                                                                                Adversary Proceeding No.
−against−                                                                                                               8−20−08044−ast
American Express Travel Related Services Company, Inc.
                                               Defendant(s)

                                  SUMMONS IN AN ADVERSARY PROCEEDING


YOU ARE SUMMONED and required to submit a motion or answer to the complaint, which is attached to this
summons, to the Clerk of the Bankruptcy Court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days.

Address of Clerk:
                                                        United States Bankruptcy Court
                                                        290 Federal Plaza
                                                        Central Islip, NY 11722
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney:
                                                                        Jeffrey P Nolan
                                                                        Pachulski Stang Ziehl & Jones LLP
                                                                        780 Third Avenue
                                                                        34th Floor
                                                                        New York, NY 10017

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT, AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Dated: March 13, 2020                                                  Robert A. Gavin, Jr., Clerk of the Court




Summons (AST)[Summons and Notice of Pretrial Conf. rev. 05/27/2016]
